 

Case 1:21-cv-00221-CC Document 22 Filed 05/10/21 Page 1 BILED IN CLERK’S OFFICE

U.S.0.C. Atlanta

 

 

 

 

 

 

 

 

AFFIDAVIT OF SERVICE MAY 1 0 2021
Case: Court County: Job: WATT
1:21-Cv- UNITED STATES DISTRICT COURT for the Northem Fulton, GA 5642556 if N. HAT EN, Clerk
0221 CC District of Georgia _ Deputy Clerk
Plaintiff / Petitioner: Defendant / Respondent:
GLENFORD KENNARD HYATT LAKEVIEW LOAN SERVICING LLC.
Received by: For:
Southeastem Process Servers GLEN HYATT
To be served upon:
LAKEVIEW LOAN SERVICING LLC.

 

 

|, Rochelle Earthrise, being duly swom, depose and say: ! am over the age of 18 years and not a party to [this action, and that within the
boundaries of the state where service was effected, | was authorized by law to make service of the documents and informed said person of

the contents herein

Recipient Name / Address: LAKEVIEW LOAN SERVICING LLC. was Corporate served via their Registered Agent BURR & FOREMAN LLP,

Manner of Service:
Documents:

Additional Comments:

Legal Counsel Rachel R. Friedman and accepted In her behalf by Legal Cou

Office: 171 17th St NE SUITE 1100, Atlanta, GA 30309
Registered Agent, May 5, 2021, 11:44 pm EDT

 

sel Kevin Stone, Authorized, Law

  

SUMMONS IN A CIVIL ACTION, PLAINTIFFS RESPONSE TO DEFENDANTS OPQSITION TO PLAINTIFFS' "MOTION
TO MOVE THE COURT FOR SUMMARY JUDGEMENT BY ORDER". NOTICE TO AGENT IS NOTICE TO PRINCIPLE,
PLAINTIFFS RESPONSE TO DEFENDANTS MOTION TO DISMISS DUE TO NON-RESPONSE, NOTICE TO AGENTS IS

NOTICE TO PRINCIPLE, AND MEMORANDUM OF LAW IN SUPPORT OF PLAI

FFS' MOTION TO MOVE THE

 

COURT FOR SUMMARY JUDGEMENT BY ORDER. (Received Apr 26, 2021 at 6:49pm EDT)

 

1) Unsuccessful Attempt: Apr 28, 2021, 12:35 pm EDT at Law Office: 171 17th St NE SUITE 1100, Atlanta, GA 30309

LAKEVIEW LOAN SERVICING LLC Registered Agent Burr & Foreman LLP, Legal Counsel Rachel R. Fried

no longer works out of this

 

office located at 171 17th Street NW, Suite 1100, Adanta, GA 30363. No one was authorized to accept service in her behalf.

 

2) Successful Attempt: May 5, 2021, 11:44 pm EDT at Law Office: 171 17th St NE SUITE 1100, Atlanta, GA 30309 received by LAKEVIEW LOAN

SERVICING LLC served via their Registered Agent BURR & FOREMAN LLP, Rachel R. Friedman and accept
Kevin Stone, Authorized. Age: 35; Ethnicity: Caucasian; Gender: Male; Weight: 150; Helght: 5110”; Hair: B

Authonzed;

LAKEVIEW LOAN SERVICING LLC. was Corporate served via their Registered Agent Burr & Foreman LiP,

and accept in her behalf by Legal Counsel Kevin Stone, Authorized.

Rochelle Earthrise ID# CPS 236

Southeastern Process Servers

2296 Henderson Mill Rd NE #116

Atlanta, GA 30345
404-330-9066

In her behalf by Legal Counsel
n; Eyes: Brown; Relationship:

 
  

al Counsel Rachei R. Friedman,

Subscribed and sworn to before me by the affiant who is

perso:
5/6/2021

Date
Notary Public

5/6/2021

known to me. in The State ae — County.
OV 19/24

 

willy,
why EAR 4,
SPegitisn we

cones Expires

 
 

 

 

Case 1:21-cv-00221-CC Document 22 Filed 05/10/21 Page 2 of 2

AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

 

 

for the
Glenford Kennard Hyatt )
Plaintiff
v. ) Civil Action No. 1:21-CV-0221 CC
)
Lakeview Loan Servicing LLC. )
Defendant )

SUMMONS IN A CIVIL ACTION

To: fendant’s name and address, z
Tueuitee Loan Ree, ing LLE. in cure x 3
Rachel R. Friedman
BURR & FORMAN LLP
171 Seventeenth Street, NW, Suite 1100
Atlanta, Georgia 30363

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of

the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Glenford Hyatt
c/o 4480 S Cobb Drive SE
STE H, Box 558

Smyma, Georgia [30080]

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

0250S B. HATTON

 

 

 

Date: C |oa{ 2072 | Bee
Zz iemattre of Clerk or Deputy Clerk

 
